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United States District Court
Southern District of New York                                      1:20-cv-01084

Herbie Hamilton, individually and on behalf
of all others similarly situated,
                                  Plaintiff,

                    - against -                               Class Action Complaint

Orgain, Inc.,
                                  Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.       Orgain, Inc. (“defendant”) manufactures, distributes, markets, labels and sells

almondmilk beverages purporting to be flavored only with vanilla under the Orgain brand

(“Products”) .

       2.       The Products are available to consumers from retail and online stores of third-parties

and defendant's website and are sold in cartons of 32 OZ (946 ML).

       3.       The relevant front label statements include “Orgain,” “Almondmilk,” “10X The

Protein!,” “Organic Protein,” “10g Protein,” “Unsweetened” and “Vanilla.”




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        4.     The representations are misleading because though the characterizing flavor is

represented as vanilla, the vanilla taste and flavor is not provided exclusively by vanilla beans.


I. Increase in Consumption of Non-Dairy, Plant-Based Milk Alternatives


        5.     Over the past ten years, the number of dairy milk substitutes has proliferated to

include “milks” (milk-like beverages) made from various agricultural commodities.

        6.     Reasons for consuming non-dairy milks include avoidance of animal products due to

health, environmental or ethical reasons, dietary goals or food allergies.1

        7.     Two of the most popular milk alternatives are made from soybeans and almonds.

        8.     Reasons for consumers choosing soymilk instead of almondmilk include tree nut


1
 Margaret J. Schuster, et al. “Comparison of the Nutrient Content of Cow’s Milk and Nondairy Milk Alternatives:
What’s the Difference?,” Nutrition Today 53.4 (2018): 153-159.
                                                      2
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allergies, creamier consistency, greater amount of soy protein and more B vitamins, magnesium

and potassium.2

        9.      Reasons for consumers choosing almondmilk instead of soymilk include soy

allergies, sweeter taste, similar consistency to skim and low-fat milk, nutty flavor and higher levels

of vitamin E.

        10.     Recent studies indicate that of the 7.2 million U.S. adults with food allergies, 3

million are allergic to tree nuts while 1.5 million are allergic to soy.3

        11.     Whether due to few people being allergic to soy and tree nuts (almonds) or the

different qualities of each product type, consumers have preferences for one over the other and

seldom switch between their “plant milk” of choice.

        12.     These plant-based beverages are typically mixed with a flavoring like vanilla or

chocolate to increase its palatability and available in sweetened and unsweetened varieties.

        13.     Defendant’s Products are unique by having significantly more protein than similar

almondmilk products.


II.     Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand

        14.     The tropical orchid of the genus Vanilla (V. planifolia) is the source of the prized

flavor commonly known as vanilla, defined by law as “the total sapid and odorous principles

extractable from one-unit weight of vanilla beans.”4

        15.     Vanilla’s “desirable flavor attributes…make it one of the most common ingredients

used in the global marketplace, whether as a primary flavor, as a component of another flavor, or



2
   Yahoo Food, Almond Milk Vs. Soy Milk: Which Is Better?, September 5, 2014.
3
  Ruchi Gupta et al., "Prevalence and severity of food allergies among US adults," JAMA network open 2, no. 1
(2019): e185630-e185630.
4
  21 C.F.R. §169.3(c).
                                                     3
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for its desirable aroma qualities.”5

        16.     Though the Pure Food and Drugs Act of 1906 (“Pure Food Act”) was enacted to

“protect consumer health and prevent commercial fraud,” this was but one episode in the perpetual

struggle against those who have sought profit through sale of imitation and lower quality

commodities, dressed up as the genuine articles.6

        17.     It was evident that protecting consumers from fraudulent vanilla would be

challenging, as E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department of

Agriculture’s Bureau of Chemistry, noted “There is at least three times as much vanilla consumed

[in the United States] as all other flavors together.”7

        18.     This demand could not be met by natural sources of vanilla, leading manufacturers

to devise clever, deceptive and dangerous methods to imitate vanilla’s flavor and appearance.

        19.     Today, headlines tell a story of a resurgent global threat of “food fraud” – from olive

oil made from cottonseeds to the horsemeat scandal in the European Union.8

        20.     Though “food fraud” has no agreed-upon definition, its typologies encompass an

ever-expanding, often overlapping range of techniques with one common goal: giving consumers

less than what they bargained for.


    A. Food Fraud as Applied to Vanilla



5
  Daphna Havkin-Frenkel, F.C. Bellanger, Eds., Handbook of Vanilla Science and Technology, Wiley, 2018.
6
  Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.
7
  E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
8
  Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
                                                         4
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         21.    Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.9

         22.    The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities in today’s interconnected world.10

         Type of Food Fraud                                     Application to Vanilla

    ➢ Addition of markers
       specifically tested for          •   Manipulation of the carbon isotope ratios to produce
       instead of natural                   synthetic vanillin with similar carbon isotope composition
       component of vanilla                 to natural vanilla
       beans

                                        •   Ground vanilla beans and/or seeds to provide visual appeal
                                            as “specks” so consumer thinks the product contains real
                                            vanilla beans, when the ground beans have been exhausted
    ➢ Appearance of more                    of flavor
       and/or higher quality of         •   Caramel to darken the color of an imitation vanilla so it
       the valued ingredient                more closely resembles the hue of real vanilla11
                                        •   Annatto and turmeric extracts in dairy products purporting
                                            to be flavored with vanilla, which causes the color to better
                                            resemble the hue of rich, yellow butter

    ➢ Substitution and                  •   Tonka beans, though similar in appearance to vanilla
       replacement of a high                beans, are banned from entry to the United States due to
       quality ingredient with              fraudulent use



9
   Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
10
   Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.
11
   Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.
                                                        5
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     alternate ingredient of             •     Coumarin, a toxic phytochemical found in Tonka beans,
     lower quality                             added to imitation vanillas to increase vanilla flavor
                                               perception

 ➢ Addition of less expensive
     substitute ingredient to                • Synthetically produced ethyl vanillin, from recycled paper,
     mimic flavor of more                      tree bark or coal tar, to imitate taste of real vanilla
     valuable component

                                             • “to mix flavor materials together at a special ratio in which
                                               they [sic] compliment each other to give the desirable
                                               aroma and taste”12
                                             • Combination with flavoring substances such as propenyl

 ➢ Compounding, Diluting,                      guaethol (“Vanitrope”), a “flavoring agent [, also]

     Extending                                 unconnected to vanilla beans or vanillin, but unmistakably
                                               producing the sensation of vanilla”13

                                             • “Spiking” or “fortification” of vanilla through addition of
                                               natural and artificial flavors including vanillin, which
                                               simulates vanilla taste but obtained from tree bark

                                             • Injection of vanilla beans with mercury, a poisonous
 ➢ Addition of fillers to give
                                               substance, to raise the weight of vanilla beans, alleged in
     the impression there is
                                               International Flavors and Fragrances (IFF), Inc. v. Day
     more of the product than
                                               Pitney LLP and Robert G. Rose, 2005, Docket Number L-
     there actually is
                                               4486-09, Superior Court of New Jersey, Middlesex County

                                             • Subtle, yet deliberate misidentification and obfuscation of
 ➢ Ingredient List Deception14                 a product’s components and qualities as they appear on the
                                               ingredient list


12
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.
13
   Berenstein, 423.
14
   Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar.
                                                          6
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                                              o “ground vanilla beans” gives impression it describes
                                                  unexhausted vanilla beans when actually it is devoid of
                                                  flavor and used for aesthetics
                                              o “natural vanilla flavorings” – “-ing” as suffix referring
                                                  to something like that which is described
                                              o “Vanilla With Other Natural Flavors” – implying –
                                                  wrongly – such a product has a sufficient amount of
                                                  vanilla to characterize the food
                                              o “Natural Flavors” – containing “natural vanillin”
                                                  derived not from vanilla beans but from tree pulp.
                                                  When paired with real vanilla, vanillin is required to be
                                                  declared as an artificial flavor
                                              o “Non-Characterizing” flavors which are not identical
                                                  to vanilla, but that extend vanilla


         23.    The “plasticity of legal reasoning” with respect to food fraud epitomize what H.

Mansfield Robinson and Cecil H. Cribb noted in 1895 in the context of Victorian England:

         the most striking feature of the latter‐day sophisticator of foods is his knowledge of
         the law and his skill in evading it. If a legal limit on strength or quality be fixed for
         any substance (as in the case of spirits), he carefully brings his goods right down to
         it, and perhaps just so little below that no magistrate would convict him.

         The law and chemistry of food and drugs. London: F.J. Rebman at p. 320.15

     B. The Use of Vanillin to Simulate Vanilla

         24.    The most persistent challenger to the authenticity of real vanilla has been synthetic

versions of its main flavor component, vanillin.

         25.    First synthesized from non-vanilla sources by German chemists in the mid-1800s,

vanillin was the equivalent of steroids for vanilla flavor.



15
   Cited in Sébastien Rioux, “Capitalist food production and the rise of legal adulteration: Regulating food standards
in 19th‐century Britain,” Journal of Agrarian Change 19.1 (2019) at p. 65 (64-81).
                                                          7
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        26.    According to Skip Rosskam, a professor of vanilla at Penn State University and

former head of the David Michael flavor house in Philadelphia, “one ounce of vanillin is equal to

a full gallon of single-fold vanilla extract.”16

        27.    Only 1-2% of vanillin in commercial use is obtained from the vanilla plant, which

means almost all vanillin has no connection to the vanilla bean.

        28.    Nevertheless, disclosure of this powerful ingredient has always been required where

a product purports to be flavored with vanilla. See Kansas State Board of Health, Bulletin, Vol. 7,

1911, p. 168 (cautioning consumers that flavor combinations such as “vanilla and vanillin…vanilla

flavor compound,” etc., are not “vanilla [extract] no matter what claims, explanations or formulas

are given on the label.”).

        29.    Since vanilla is the only flavor with its own standard of identity, its labeling is

controlled not by the general flavor regulations but by the standards for vanilla ingredients.

        30.    This means that if a product is represented as being characterized by vanilla yet

contains non-vanilla vanillin, the label and packaging must declare the presence of vanillin and

identify it as an artificial flavor. See Vanilla-vanillin extract at 21 C.F.R. § 169.180(b) (“The

specified name of the food is ‘Vanilla-vanillin extract _-fold’ or ‘_-fold vanilla-vanillin extract’,

followed immediately by the statement ‘contains vanillin, an artificial flavor (or flavoring)’.”); see

also 21 C.F.R. § 169.181(b), § 169.182(b) (similar declarations required for Vanilla-vanillin

flavoring and Vanilla-vanillin powder).

        31.    This prevents consumers from being misled by products which may taste similar to

real vanilla and but for consumer protection requirements, would be sold at the price of real vanilla.




16
  Katy Severson, Imitation vs. Real Vanilla: Scientists Explain How Baking Affects Flavor, Huffington Post, May
21, 2019.
                                                      8
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       C. Use of “Natural Vanillins” with “Natural Vanilla”

           32.    The past ten years have seen many vanillins purporting to be a “natural flavor” –

derived from a natural source material which undergoes a natural production process.

           33.    However, “natural vanillin” is not a “natural vanilla flavor” because the raw material

is ferulic acid or eugenol, from cloves, instead of vanilla beans.

           34.    Ferulic acid is converted to vanillin through a natural fermentation process, but this

method is cost prohibitive for almost all applications.

           35.    Thus, when a product uses “natural vanillin,” it is a certainty it is made from eugenol,

which was deemed by the FDA to be considered a “natural flavor,” due to its manufacturer

claiming it is derived by a natural process.

           36.    Since this conversion occurs in China with no transparency or verification, regulators

and consumers are not told that the production method is a chain of chemical reactions which

would more accurately describe an artificial flavor.


III.       Flavor Industry’s Efforts to Use Less Vanilla, Regardless of any Shortages

           37.    The “flavor industry” refers to the largest “flavor houses” such as Symrise AG,

Firmenich, Givaudan, International Flavors and Fragrances (including David Michael), Frutarom

and Takasago International along with the largest food manufacturing companies such as Unilever.

           38.    The recent global shortage of vanilla beans has provided the flavor industry another

opportunity to “innovate[ing] natural vanilla solutions…to protect our existing customers.”17

           39.    Their “customers” do not include the impoverished vanilla farmers nor consumers,

who are sold products labeled as “vanilla” for the same or higher prices than when those products

contained only vanilla.


17
     Amanda Del Buouno, Ingredient Spotlight, Beverage Industry, Oct. 3, 2016.
                                                          9
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           40.    These efforts include (1) market disruption and manipulation and (2) the

development of alternatives to vanilla which completely or partially replace vanilla.


       A. Flavor Industry’s Attempt to Disrupt Supply of Vanilla to Create a “Permanent Shortage”

           41.    The flavor industry has developed schemes such as the “Sustainable Vanilla

Initiative” and “Rainforest Alliance Certified,” to supposedly assure a significant supply of vanilla

at stable, reasonable prices.

           42.    Contrary to promoting “sustainability” of vanilla, these programs make vanilla less

“sustainable” by paying farmers to destroy their vanilla crops under the pretense of “crop

diversification” to the ubiquitous palm oil.

           43.    There have also been allegations that Unilever’s Rainforest Alliance Certified

Program uses child and/or slave labor and is partially responsible for the imprisonment of children.

           44.    Other tactics alleged to be utilized by these companies include “phantom bidding,”

where saboteurs claim they will pay a higher price to small producers, only to leave the farmers in

the lurch, forced to sell at bottom dollar to remaining bidders.18

           45.    The reasons for these counterintuitive actions is because they benefit from high

vanilla prices and the use of less real vanilla.

           46.    When less vanilla is available, companies must purchase the higher margin,

proprietary, “vanilla-like” flavorings made with advanced technology and synthetic biology.


       B. Use of Vanilla WONF Ingredients to Replace and Provide Less Vanilla

           47.    The effort to replace vanilla with so-called Vanilla WONF started in the late 1960s,

but the last 10 years have seen the proliferation of this ingredient.



18
     Monte Reel, The Volatile Economics of Natural Vanilla in Madagascar, Bloomberg.com, Dec. 16, 2019.
                                                        10
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        48.     The FDA regulations curiously do not contain the term “vanilla with other natural

flavors” and use other flavors when explaining the WONF concept, i.e., strawberry flavor and

other natural flavors.

        49.     One explanation is because the agency knew that if vanilla could be combined and

mixed with “other natural flavors,” companies would devise methods to reduce the amount of

vanilla and “enhance it” with non-vanilla ingredients.

        50.     Though flavor companies will not admit their desire to move off real vanilla, this

conclusion is consistent with comments of industry executives.

        51.     According to Suzanne Johnson, vice president of research at a North Carolina

laboratory, “Many companies are trying to switch to natural vanilla with other natural flavors

[WONF] in order to keep a high-quality taste at a lower price.”

        52.     The head of “taste solutions” at Irish conglomerate Kerry urged flavor manufacturers

to “[G]et creative” and “build a compounded vanilla flavor with other natural flavors.”

        53.     This high tech alchemy is believed to cause compounded vanilla flavors (less vanilla)

to “match[es] the taste of pure vanilla natural extracts (real vanilla)” with “a smaller quantity of

vanilla beans.”19

        54.     These compounded flavors exist in a “black box” with “as many as 100 or more

flavor ingredients,” including potentiators and enhancers, like maltol, heliotropin and piperonal,

blended together allowing the use of less vanilla to achieve the intended taste.20




19
  Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.
20
  Hallagan and Drake, FEMA GRAS and U.S. Regulatory Authority: U.S. Flavor and Food Labeling Implications,
Perfumer & Flavorist, Oct. 25, 2018; Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley,
1985, p. 611 (describing the flavor industry’s goal to develop vanilla compound flavors “That Seem[s] to be Authentic
or at Least Derived from a Natural Source”) (emphasis added).
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      C. Decline of Industry Self-Governance

         55.   That high level executives in the flavor industry are willing to boast of their

stratagems to give consumers less vanilla for the same or greater price is not unexpected.

         56.   The once powerful and respected trade group, The Flavor and Extract Manufacturers

Association (“FEMA”), abandoned its “self-policing” of misleading vanilla labeling claims and

disbanding its Vanilla Committee.

         57.   FEMA previously opposed industry efforts to deceive consumers, but cast the public

to the curb in pursuit of membership dues from its largest members, such as Unilever.


IV.      Designating Vanilla

      A. Requirements for Front Label Designation Where Food Contains Vanilla

         58.   There are generally four categories of flavors: natural flavors, natural flavor with

other natural flavor (“WONF”), artificial flavor and natural and artificial (“N & A”) flavor.

         59.   “Natural flavor” refers to “the essential oil, oleoresin, essence or extractive…which

contains the flavoring constituents” from a natural source such as plant material and can refer to

combinations of natural flavors. See 21 C.F.R. § 101.22(a)(3).

         60.   Natural WONF flavor contains some flavor “from the product whose flavor is

simulated and other natural flavor which simulates, resembles or reinforces the characterizing

flavor.” See 21 C.F.R. § 101.22(i)(1)(iii) (“the food shall be labeled in accordance with the

introductory text and paragraph (i)(1)(i) of this section and the name of the food shall be

immediately followed by the words "with other natural flavor"”).

         61.   “Artificial flavor” is any substance whose function is to impart flavor that is not

derived from a natural source. See 21 C.F.R. § 101.22(a)(1).

         62.   Representations as to a food’s characterizing flavor requires consideration of (1) the

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presence of “natural flavor” and/or “artificial flavor,” (2) whether the natural and artificial flavor

simulates, resembles or reinforces the characterizing flavor, (3) whether the natural flavor is

obtained from the food ingredient represented as the characterizing flavor – i.e., does the peach

flavor come from real peaches or is it synthesized from apricots? and (4) the relative amounts of

the different flavor types. See 21 C.F.R. § 101.22(i)(1)(i)-(iii), 21 C.F.R. § 101.22(i)(2).

        63.   A product labeled “Vanilla Almondmilk” gives the impression that all the flavor

(taste sensation and ingredient imparting same) is contributed by the characterizing food ingredient

of vanilla beans and no non-vanilla flavors extend, reinforce, simulate or enhance vanilla. See 21

C.F.R. § 101.22(i)(1) (describing a food which contains no simulating artificial flavor and not

subject to 21 C.F.R. § 101.22(i)(1)(i)-(iii)).

        64.   The absence of the term “flavored” from a food labeled “Vanilla Almondmilk” gives

consumers the impression the food contains a sufficient amount of vanilla to characterize the food.

        65.   If a product contains an “amount of characterizing ingredient [vanilla] insufficient to

independently characterize the food,” it would be required to be labeled as “Vanilla flavored

almondmilk” or “natural vanilla flavored almondmilk.” See 21 C.F.R. § 101.22(i)(1)(i).

        66.   If the amount of the characterizing flavor is sufficient to independently characterize

the food, it would be labeled “[Name of Characterizing Flavor] With Other Natural Flavor.” See

21 C.F.R. § 101.22(i)(1)(iii); see also 21 C.F.R. § 101.22(i)(1) (“introductory text” describing a

food containing “no artificial flavor which simulates, resembles or reinforces the characterizing

flavor,” and none of the sub-paragraphs of 21 C.F.R. § 101.22(i)(1) apply).

        67.   If the amount of the characterizing flavor is insufficient to independently characterize

the food, it would be labeled “[Name of Characterizing Flavor] Flavored With Other Natural

Flavor.” See 21 C.F.R. § 101.22(i)(1)(iii) referring to “paragraph (i)(1)(i) of this section,” 21

                                                 13
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C.F.R. § 101.22(i)(1)(i).


     B. Listing Flavors on the Ingredient List

        68.   If an exclusively vanilla ingredient is used without having been mixed or blended

with non-vanilla flavors, it is designated on the ingredient list by its common or usual name

provided by its standard of identity. See 21 C.F.R. § 169.175(b)(1) (“The specified name of the

food is ‘Vanilla extract’ or ‘Extract of vanilla’.”); see also 21 C.F.R. § 169.177(b) (“The specified

name of the food is ‘Vanilla flavoring.’”).

        69.   Though labeling and use of vanilla with other natural flavor is subject to debate, these

“other natural flavors” extend, resemble and simulate vanilla.

        70.   On an ingredient list, a WONF flavor is required to be labeled “natural flavor.” See

21 C.F.R. § 101.22(h)(1) (“Spice, natural flavor, and artificial flavor may be declared as ‘spice’,

‘natural flavor’, or ‘artificial flavor’, or any combination thereof, as the case may be.”).

        71.   If a product is labeled with an unqualified “Vanilla” and the ingredient list contains

(1) a single flavoring ingredient of “Natural Flavor” or (2) an exclusively vanilla ingredient, i.e.

vanilla extract, vanilla flavoring and the term “Natural Flavor,” the representations of the product

are misleading.


V.      Vanilla Flavoring Combinations

        72.   There are several types of vanilla flavor combinations used in products labeled

“vanilla.”

        73.   These combinations all contain some vanilla and adjuvants and enhancers.

        74.   The first type is a Vanilla WONF.

        75.   One version of Vanilla WONF will contain non-vanilla flavor ingredients.

        76.   Another version of Vanilla WONF will contain “natural vanillin.”
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       77.    The second type will be a flavor combination with an ingredient list disclosing

“vanilla extract” or “vanilla flavor” and “natural flavor.”


   A. Vanilla WONF

       78.    If a product contains a vanilla WONF, it is misleading for the front label to not

disclose “with other natural flavor.”

       79.    A product labeled only as “vanilla” but flavored with vanilla WONF is misleading

due to not disclosing the presence of the “other natural flavors” because these flavors “simulate[s],

resemble[s] or reinforce[s] the characterizing flavor” of vanilla. See 21 C.F.R. § 101.22(i)(1)(iii).

       80.    If the food contains a sufficient amount of vanilla to independently characterize the

food, it would be labeled “Vanilla ‘With Other Natural Flavor.’” See 21 C.F.R. § 101.22(i)(1)(iii);

see also 21 C.F.R. § 101.22(i)(1) (“introductory text” describing a food containing “no artificial

flavor which simulates, resembles or reinforces the characterizing flavor,” and none of the sub-

paragraphs of 21 C.F.R. § 101.22(i)(1) apply).

       81.    If the food contains an insufficient amount of vanilla to independently characterize

the food, it would be labeled “Vanilla ‘Flavored With Other Natural Flavor.’” See 21 C.F.R. §

101.22(i)(1)(iii) referring to “paragraph (i)(1)(i) of this section,” 21 C.F.R. § 101.22(i)(1)(i).

       82.    Vanilla WONF is required to be identified on ingredient lists as “natural flavor,” but

is sometimes incorrectly and deceptively listed as “Vanilla Flavor With Other Natural Flavor.”

       83.    The listing of only “Natural Flavor” in a food labeled as “Vanilla” is misleading

because “Natural Flavor” refers to a combination of ingredients which may contain vanilla, but

also contains non-vanilla flavors.


   B. Vanilla WONF with Vanillin

       84.    If a vanilla WONF contains added vanillin, it cannot considered a “natural flavor”
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because vanillin has always been “artificial” when compared with real vanilla. See Vanilla-vanillin

extract at 21 C.F.R. § 169.180(b) (“The specified name of the food is ‘Vanilla-vanillin extract _-

fold’ or ‘_-fold vanilla-vanillin extract’, followed immediately by the statement ‘contains vanillin,

an artificial flavor (or flavoring)’.”).


    C. Vanilla with “Non-Characterizing” Flavors

           85.    A well-known effort at circumventing the law to deceive consumers about the

amount of vanilla was the development of the Vanguard “flavoring system” in the late 1970s by

David Michael & Co., Inc., currently part of International Flavors & Fragrances (“IFF”).

           86.    Vanguard was self-described as a “flavorless” “natural flavor enhancer” that

“contain[ed] no vanilla, vanillin, ethyl vanillin, or any artificial flavor” but reduced the amount of

real vanilla by up to half.

           87.    This “non-characterizing” flavor was a “blend[s] of dozens of plant extractives,

roots, and botanicals, all natural ingredients found on the GRAS list.”

           88.    David Michael advised customers that (1) the ingredient list of a product made with

Vanguard would state “vanilla extract [or flavor], natural flavor” and (2) the front label would

only state “Vanilla” because the non-vanilla natural flavor was claimed to not resemble or simulate

vanilla.


             i.    Use of “Non-Characterizing” Natural Flavors in Vanilla is Deceptive and
                   Misleading

           89.    Where a product’s front label states “vanilla” and its ingredient list separately

declares “vanilla flavor” or “vanilla extract” and “natural flavor,” it is prima facie evidence of the

use of a purported non-characterizing flavor in addition to an exclusively vanilla ingredient.

           90.    However, even if an added flavor does not simulate or is chemically identical to the

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characterizing flavor, it still may resemble, reinforce or extend the characterizing flavor.

        91.    In products with a characterizing flavor of vanilla, the use of non-vanilla like flavors

with vanilla extract and/or vanilla flavoring effects the amount of vanilla used.

        92.    These non-vanilla components include GRAS additives like piperonal, maltol and

heliotropin, which potentiate, enhance and extend vanilla.

        93.    The marketing materials for these flavor systems describe them as “vanilla replacers”

– which allow for a food to have use less vanilla yet have the same or greater vanilla taste.

        94.    It is implausible to suggest that a “non-characterizing” “natural flavor” can enable

the same level of vanilla taste through use of less real vanilla, yet have no relationship with vanilla.

        95.    To accept the argument that a product labeled only as “vanilla” can have non-

characterizing, non-vanilla flavors which are not disclosed on a front label makes little sense,

because it is illogical to add completely different flavors, i.e., strawberry, to a vanilla product.

        96.    In other words, there must be some relation of the non-characterizing non-vanilla

flavor to the vanilla flavor.

        97.    Such a flavor by definition extends the characterizing flavor through making less of

it provide a larger sensory effect.

        98.    This means that a “Natural Flavor” claimed to be “non-characterizing” would need

to be accounted for on the front label of such a food.


         ii.    Alternative Explanation Describing Non-Vanilla “Natural Flavor” as a “Masking
                Flavor” is also Deceptive

        99.    A non-vanilla natural flavor in a product labeled only as vanilla may be deceptively

described (1) as a “masking flavor” which blocks or limits a negative taste sensation caused by

other ingredients or (2) as “rounding out” harsher notes and ancillary flavors.


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        100. Masking flavors are claimed to work “in the background with the characterizing

notes, elevating them to their true potential” and “subdu[ing] off flavors from other

ingredients…allowing the characterizing flavor to shine.”21

        101. In a standard “vanilla almondmilk” product, a non-vanilla “masking” flavor would

not perform any necessary function other than creating the impression the food contains more

vanilla, requiring disclosure on the front label. See 21 C.F.R. § 101.22(i)(1)(iii) (“other natural

flavor which simulates, resembles or reinforces the characterizing flavor”).

        102. However, in defendant’s high protein Products, a masking flavor is justified due to

the use of pea protein, which according to Ryan Loy, Ph.D., at Chromocell Corp., North

Brunswick, New Jersey, is described by consumers as “grassy, beany, earthy, bitter and chalky.”22

        103. Paulette Lanzoff, technical director at Synergy Flavors, Wauconda, Illinois, noted

that to formulate a vanilla plant-based beverage with pea protein, it is necessary “to modify flavors

to get them just right for the end application.”23


          iii.   A Flavor System Which Contains “Vanilla Extract, Natural Flavor” is Misleading
                 because these Ingredients are Designed to Work Together and their Separation is
                 Intended to Deceive

        104. Companies know consumers value and will pay more for a product which contains

high value ingredients they are familiar with, such as vanilla extract or vanilla flavoring.

        105. Natural flavor is a technical, non-transparent term which allows its components to be

kept hidden.

        106. The ubiquity of “natural flavor” – in almost every food and beverage available – is

synonymous with a laboratory-created, mass produced, low value ingredient.


21
   Donna Berry, Modifying Flavor in Dairy Foods, April 11, 2018, Food Business News.
22
   Jeff Gelski, Eliminating the pea flavor in pea protein, February 21, 2018, Food Business News.
23
   Id.
                                                        18
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         107. Even where a food’s ingredient list contains “natural flavor,” the presence of “vanilla

extract” is a net positive when appealing to consumers.


VI.      Product Contains Non-Vanilla Flavor and Components Which Enhance, Resemble,
         Simulate and Extend Vanilla

         108. The Product is required to be labeled consistent with the flavor regulations in 21

C.F.R. §101.22.

         109. The front label statements and/or images of “Vanilla” are understood by consumers

to identify a product where (1) vanilla is the characterizing flavor, (2) vanilla is contained in a

sufficient amount to flavor the product, (3) the flavor is provided by an exclusively vanilla

ingredient, (4) no other flavors simulate, resemble, reinforce, enhance or extend the flavoring from

vanilla such that less real vanilla is needed and (5) vanilla is the exclusive source of flavor.


      A. Ingredient List Declaration of “Natural Flavor” Reveals Flavor is Not Exclusively Vanilla

         110. The unqualified, prominent and conspicuous representation as “Vanilla” is false,

deceptive and misleading because the Product contains flavoring other than vanilla, indicated by

"Natural Flavors" on the ingredient list.




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                                            Ingredient List




                     INGREDIENTS:     ORGANIC    ALMONDMILK
                     (FILTERED WATER, ORGANIC ALMONDS),
                     ORGANIC PEA PROTEIN, ORGANIC NATURAL
                     FLAVORS, 1% OR LESS OF THE FOLLOWING:
                     TRICALCIUM PHOSPHATE, ORGANIC RICE BRAN
                     EXTRACT, TRIPOTASSIUM CITRATE, GELLAN
                     GUM, SEA SALT, ORGANIC LOCUST BEAN GUM,
                     NATURAL FLAVOR, ERGOCALCIFEROL (VITAMIN
                     D2)

        112. The Product lists “Organic Natural Flavors” and “Natural Flavor.”

        113. One of the flavor ingredients is a masking flavor and the other is used to provide a

vanilla taste and flavor.

        114. Whether the masking flavor is the “Organic Natural Flavor” or “Natural Flavor,” the

analysis is identical.

        115. Assuming the “Natural Flavor” is not the masking flavor, this ingredient contains

non-vanilla components which simulate, resemble, extend and/or reinforce the characterizing

flavor of vanilla, yet this is not disclosed on the front label.

        116. The Product’s front label flavor designation of “Vanilla” fails to disclose the

presence of these non-vanilla flavorings, i.e., Vanilla Flavored Almondmilk, Vanilla Almondmilk

With Other Natural Flavors, etc., which is deceptive to consumers.



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VII.   Conclusion

       117. Defendant’s branding and packaging of the Products are designed to – and does –

deceive, mislead, and defraud consumers.

       118. Defendant has sold more of the Products and at higher prices per unit than it would

have in the absence of this misconduct, resulting in additional profits at the expense of consumers.

       119. The Product does not contain the amount, type, and proportion of vanilla flavoring

ingredients to non-vanilla flavoring ingredients which simulate, resemble, extend, and enhance

vanilla, which is expected by consumers based on the front label and required by law.

       120. The value of the Product that plaintiff purchased and consumed was materially less

than its value as represented by defendant.

       121. Had plaintiffs and class members known the truth, they would not have bought the

Products or would have paid less for it.

       122. The Product contains other representations which are misleading and deceptive.

       123. As a result of the false and misleading labeling, the Product is sold at a premium

price, approximately no less than $4.89 per unit, excluding tax, compared to other similar products

represented in a non-misleading way.

                                      Jurisdiction and Venue


       124. Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

of 2005 or “CAFA”).

       125. Under CAFA, district courts have “original federal jurisdiction over class actions

involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

       126. Upon information and belief, the aggregate amount in controversy is more than

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$5,000,000.00, exclusive of interests and costs.

        127. Plaintiff is a citizen of New York.

        128. Defendant is a California corporation with a principal place of business in Irvine,

Orange County, California and is a citizen of California.

        129. This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to provide and/or supply and provides and/or supplies services and/or goods

within New York.

        130. Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        131. A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                   Parties

        132. Plaintiff is a citizen of Bronx, Bronx County, New York.

        133. Defendant Orgain, Inc. is a California corporation with a principal place of business

in Irvine, California, Orange County.

        134. During the relevant statutes of limitations, plaintiff purchased the Product within this

district and/or State for personal consumption in reliance on the representations.

                                         Class Allegations


        135. The classes will consist of all purchasers of the Products in New York, the other 49

states and a nationwide class where applicable, during the applicable statutes of limitations.

        136. Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.

        137. Plaintiff's claims and basis for relief are typical to other members because all were

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subjected to the same unfair and deceptive representations and actions.

       138. Plaintiff is an adequate representative because his interests do not conflict with other

members.

       139. No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       140. Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       141. Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       142. Plaintiff seeks class-wide injunctive relief because the practices continue.

                                       New York GBL §§ 349 & 350
                                 (Consumer Protection from Deceptive Acts)

       143. Plaintiff incorporates by reference all preceding paragraphs.

       144. Plaintiff and class members desired to purchase, consume and use products or

services which were as described and marketed by defendant and expected by reasonable

consumers, given the product or service type.

       145. Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       146. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain sufficient amounts of the

highlighted ingredient, vanilla, to independently characterize the taste or flavor of the Products,

did not contain other flavor components which simulate, resemble or reinforce the characterizing

flavor and only contained flavor from vanilla.

       147. Plaintiff and class members would not have purchased the Products or paid as much
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if the true facts had been known, suffering damages.

                                       Negligent Misrepresentation

       148. Plaintiff incorporates by reference all preceding paragraphs.

       149. Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products through representing they contain sufficient amounts

of the highlighted ingredient, vanilla, to independently characterize the taste or flavor of the

Products, did not contain other flavor components which simulate, resemble or reinforce the

characterizing flavor and only contained flavor from vanilla.

       150. Defendant had a duty to disclose and/or provide non-deceptive marketing of the

Products and knew or should have known same were false or misleading.

       151. This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product or

service type.

       152. The representations took advantage of consumers’ (1) cognitive shortcuts made at

the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

       153. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Products.

       154. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

            Breaches of Express Warranty, Implied Warranty of Merchantability and
                  Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       155. Plaintiff incorporates by reference all preceding paragraphs.

       156. Defendant manufactures and sells Products that give the impression they contain
                                                 24
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sufficient amounts of the highlighted ingredient, vanilla, to independently characterize the taste or

flavor of the Products, did not contain other flavor components which simulate, resemble or

reinforce the characterizing flavor and only contained flavor from vanilla.

       157. The Products warranted to plaintiff and class members that they possessed

substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

other attributes which they did not.

       158. Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Products.

       159. This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

       160. Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

       161. Defendant had received or should have been aware of the misrepresentations due to

numerous complaints by consumers to its main office over the past several years.

       162. The Products did not conform to their affirmations of fact and promises due to

defendant’s actions and were not merchantable.

       163. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                               Fraud


       164. Plaintiff incorporates by references all preceding paragraphs.

       165. Defendant represented the Products contain sufficient amounts of the highlighted

ingredient, vanilla, to independently characterize the taste or flavor of the Products, did not contain

other flavor components which simulate, resemble or reinforce the characterizing flavor and only
                                                  25
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contained flavor from vanilla.

       166. Defendant’s fraudulent intent is evinced by its failure to accurately identify the

Products on the front label..

       167. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                            Unjust Enrichment

       168. Plaintiff incorporates by reference all preceding paragraphs.

       169. Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                                   Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

       as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, restitution and disgorgement for members of the State Subclasses pursuant

       to the applicable laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

       to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and


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      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: February 7, 2020
                                                              Respectfully submitted,

                                                              Sheehan & Associates, P.C.
                                                              /s/Spencer Sheehan
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                                                              S.D.N.Y. # SS-2056




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1:20-cv-01084
United States District Court
Southern District of New York

Herbie Hamilton, individually and on behalf of all others similarly situated,


                                         Plaintiff,


         - against -


Orgain, Inc.,


                                         Defendant




                                   Class Action Complaint



                       Sheehan & Associates, P.C.
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                            Tel: (516) 303-0552
                            Fax: (516) 234-7800




Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: February 7, 2020
                                                                         /s/ Spencer Sheehan
                                                                          Spencer Sheehan
